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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 SHIRLEY A. CARPIN, as Executor of             )
 the Estate of SHIRLEY A. HILSTER,             )
 deceased, and CHARLES W. HILSTER,             )
 JR., Individually,                            ) Civil Action No: 2:20-CV-1537-MJH
                                               )
                         Plaintiffs,           )
        vs.                                    )
                                               )
 AIR & LIQUID SYSTEMS                          )
 CORPORATION, individually and as              )
 successor-in-interest to Buffalo Pumps, Inc., )
 et al.                                        )
                                               )
                                               )
                         Defendants.           )

             NOTICE OF SETTLEMENT AND STIPULATION OF DISMISSAL

       Plaintiffs, Shirley Carpin and Charles Hislter by and through their undersigned counsel,

Caroselli Beachler & Coleman, LLC and Dean Omar Branham Shirley LLP, hereby notify the Court

that Plaintiffs have settled their claims with BW/IP Inc. and that Plaintiffs hereby stipulate to BW/IP

Inc.’s dismissal.

                                              SO STIPULATED

                                              Respectfully submitted,


                                              CAROSELLI BEACHLER & COLEMAN, LLC

                                              By:    /s/ Craig E. Coleman
                                                     Craig E. Coleman, Esquire
                                                     P.A. I.D.: 39391
                                                     20 Stanwix Street, 7th Floor
                                                     Pittsburgh, PA 15222
                                                     Attorneys for Plaintiffs

                                              DEAN OMAR BRANHAM SHIRLEY, LLP
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       “AND NOW this 7th day of June 2022, it is hereby ORDERED that BW/IP Inc. is

dismissed from this matter with prejudice.”




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